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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as the personal                          CASE NO.: 9:18-cv-80176-BB
  representative of the Estate of David
  Kleiman, and W&K Info Defense Research,
  LLC

          Plaintiffs,

  v.

  CRAIG WRIGHT

          Defendant.

                      UNOPPOSED MOTION FOR EXTENSION OF TIME

        Plaintiffs move to extend this Court’s August 24, 2018 deadline to amend the pleadings or

 join parties until 15 days after the Court rules on Defendant’s motion to dismiss the Amended

 Complaint. Defendant does not oppose the relief requested herein.

        1.      On May 14, 2018, Plaintiffs filed an Amended Complaint. On June 15, 2018,

 Defendants moved to dismiss the Amended Complaint. Plaintiffs responded on July 17, 2018.

 After two extensions, Defendant filed its reply on August 21, 2018.

        2.      On August 2, 2018, this Court stayed discovery pending ruling on Defendant’s

 motion to dismiss.

        3.      Plaintiffs request the Court continue the deadline to amend all pleadings and join

 parties until 15 days after the Court rules on Defendant’s motion to dismiss. At that time, Plaintiffs

 will be in a better position to determine whether a limited amendment to the complaint is required

 or additional parties should be joined.

        4.      In accordance with S.D. Fla. L.R. 7.1(a)(3), Kyle Roche Esq. conferred by email

 with counsel for Defendant, Daniel Sox, Esq., who does not oppose the relief requested herein.
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        5.      Defendant will not be prejudiced by the relief requested, which is not being sought

 for the purpose of delay.

        6.      In accordance with S.D. Fla. L.R. 7.1(a)(2), Plaintiffs attach a proposed order as

 Exhibit 1 and will email the proposed order to the Court as prescribed by CM/ECF Administrative

 Procedure §3I(6).

        WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request the Court continue

 the deadline to amend the pleadings and join additional parties until 15 days after it rules on the

 pending motion to dismiss.

                              S.D. FLA. L.R. 7.1 CERTIFICATION

        Pursuant to S.D. Fla. L.R. 7.1(a)(3), counsel for Plaintiffs conferred with counsel for

 Defendant and Defendant does not oppose the relief requested.


  Dated: August 27, 2018                   Respectfully submitted,

                                           s/ Velvel (Devin) Freedman
                                           Velvel (Devin) Freedman, Esq.
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                                        Counsel to Plaintiffs Ira Kleiman as Personal
                                        Representative of the Estate of David Kleiman and
                                        W&K Info Defense Research, LLC.


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 27, 2018, a true and correct copy of the foregoing
 was filed with CM/ECF, which caused a copy to be served on all counsel of record


                                                   /s/ Velvel (Devin) Freedman
                                                   Velvel (Devin) Freedman


  




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